Case 7:18-mj-01375 Document 1 fl:i|ed in TXSD on 07/04/18 Page 1 of 2

Ao 91 (sz s/oi) criminal complain

 

United States District Court

SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

 

UNI'I`ED STATES OF AMER[CA

V- CRIMINAL COMPLAINT
Ricardo Fuentes-Medrano Principal
YOB: 1999
Mexico Case Number:
AKA: Jose Martinez-Gonzales M-18-1375-M
(Namc and Address of Defendant)

I, the undersigned complaina.nt being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about July 3, 2018 in Hida|go County, in

the Southem District of Texas defendants(s) did,

(Track Statulory Language of Oj)%nse)

knowing or in reckless disregard of the fact that Ronald Ariel Baca-Castro and Annel Maudiel Gomez-Vega,
both citizens and nationals of Honduras, along with six (6) other undocumented aliens, for a total of eight (8)
who had entered the United States in violation of law, did knowingly transport, or move or attempt to

transport, by foot, said aliens in furtherance of such violation of law within the United States, that is, from a
location near Mission, Texas to the point of arrest near Mission, Texas,

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(ii) FELCNY

I further state that I am a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the
following facts:

On July 3, 2018, a Border Patrol Agent operating a tower camera observed nine subjects walking north and
making several stops attempting to conceal themselves in high grassy areas, in Mission, Texas. This area is well
known for human and narcotic smuggling. The agent relayed the observations and Border Patrol Agents
responded to the area. With the assistance of Customs and Border Protection Air Support., agents located nine
subjects attempting to conceal themselves in a heavily brushed area. Agents determined all nine subjects were

illegally present in the United States and did not possess any documents allowing them to remain in the United
States legal|y.

l declare under penalty of perjury that the statements in this complaint are true and correct. Executed on july 4, 2018.

SEE ATTACHED:

Continued on the attached sheet and made a part of this complaint IEYes \:l No
Submitted by reliable electronic means, sworn to and attested
to telephonical|y per Fed. R. Cr. P. 4.1, and probable cause found

 

 

 

 

on: /S/ Jon M. Chan
Signature of Complainant
Jon M. Chan Senior Patro| Agent
Swom to before me and subscribed in my presence, Pnnted Name of Compiainam
Jujy 4, 2013 @ 2147 p.m. at McAllen, Texas
Date City and State

Narne and Title of Judicial Oft“ioer

Juan F. Alanis , U. S. Maglstrate Judge 7 %AM¢
' ture of Judicia| ¢fhcer

 

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Case 7:18-mj-01375 Document 1 Filed in TXSD on 07/04/18 Page 2 of 2

UN|TED STATES DlSTRlCT COURT

SOUTHERN DlSTRlCT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CR|M|NAL COMPLA|NT:

M-1 8-1 375-M
RE: Ricardo Fuentes-Medrano

CONTINUATION:
During a field interview, Ricardo FUENTES-Nledrano, was identified as the foot guide by one of

the members of the group. A|l the subjects were placed under arrest and transported to the
McAllen Border Patrol Station for processing

Principal Statement:
Ricardo FUENTES-Medrano, a citizen of Mexico, was advised of his Miranda Rights, stated he
understood his rights, and declined to answer questions without the presence of an attorney.

Materia| Witnesses Statements:

Rona|d Ariel BACA-Castro and Annel Maudiel GOMEZ-Vega, both citizens of Honduras, were
advised of their Miranda Rights, stated they understood their rights, and agreed to answer
questions without the presence of an attorney.

Materia| Witness 1:

Rona|d Ariel BACA-Castro claimed his father made his smuggling arrangements, paid 2,600 USD,
and was to pay additional money once he arrived to Houston, Texas. BACA stated the foot
guide instructed the group to board a raft, and after crossing the river, instructed the group to
follow him. BACA indicated the foot guide was wearing a black shirt and black shoes.

BACA identified Ricardo FUENTES-Medrano, through a photo lineup, as the foot guide of the
group he was traveling with.

Materia| Witness 2:

Annel Maudiel GOMEZ-Vega claimed he made his arrangements to be smuggled into the United
States and was going to pay 5,100 USD. GOMEZ crossed the river on a raft with the help of a
foot guide. At the riverbank, the foot guide instructed GOMEZ to board a raft and told him to
not be afraid. After crossing the river, the group followed the foot guide who instructed them
to be attentive and look out for immigration.

GOMEZ identified Ricardo FUENTES-Medrano, through a photo lineup, as the foot guide that
smuggled him into the United States.

Page 2

 

 

